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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

                                                    :
Stella Stanishia,                                   :
                                                    : Civil Action No.: ______
                        Plaintiff,                  :
        v.                                          :
                                                    :
Credit Acceptance Corporation,                      : DEMAND FOR JURY TRIAL
                                                    :
                        Defendant.                  :
                                                    :
                                                    :

                                COMPLAINT & JURY DEMAND

        For this Complaint, the Plaintiff, Stella Stanishia, by undersigned counsel, states as

follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transact business here, Plaintiff resides in this judicial district, and a substantial portion of the

acts giving rise to this action occurred here.

                                              PARTIES

        3.      The Plaintiff, Stella Stanishia (“Plaintiff”), is an adult individual residing in

Delray Beach, Florida, and is a “person” as defined by 47 U.S.C. § 153(39).

        4.      Defendant Credit Acceptance Corporation (“Credit”), is a Michigan business

entity with an address of 25505 West 12 Mile Road, Southfield, Michigan 48034-8316, and is a

“person” as defined by 47 U.S.C. § 153(39).

        5.      Credit at all times acted by and through one or more of the agents.
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                                               FACTS

       6.      Within the last four years, Credit contacted Plaintiff in an attempt to collect a debt

allegedly owed by Plaintiff.

       7.      At all times referenced herein, Credit placed calls to Plaintiff’s cellular telephone,

number 954-xxx-9317, using an automated telephone dialer system (“ATDS” or “predictive

dialer”) and/or by using an artificial or prerecorded voice.

       8.      When Plaintiff answered calls from Credit, she would hear a prerecorded

message. The message instructed Plaintiff to “please hold for the next available agent”, and

would then connect Plaintiff to a live representative.

       9.      Frustrated with the excessive amount of calls she was receiving, during the month

of December, 2013, Plaintiff waited on the line after receiving a call from Credit, in order to

speak to a live representative. During their conversation, Plaintiff requested that Credit cease all

calls to her cellular phone.

       10.     Despite lacking Plaintiff’s permission, Credit continued to harass Plaintiff with

calls to her cellular phone at a rate of over twenty five calls since her original request.

       11.     Credit’s frequent calling has caused Plaintiff much inconvenience and concern.

                                              COUNT I

       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.

       12.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       13.     Defendant contacted Plaintiff using an automatic telephone dialing system and/or

by using a prerecorded or artificial message to her cellular telephone in violation of 47 U.S.C. §

227(b)(1)(A)(iii).
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        14.       If Defendant at one time had permission to place calls to Plaintiff, Plaintiff has

since revoked her consent to be contacted by Defendant on her cellular telephone by her demand

to cease calling her cellular telephone.

        15.       Credit continued to place automated calls to Plaintiff’s cellular telephone after

being advised by Plaintiff that there was no consent to continue the calls. As such, each call

placed to Plaintiff was made in knowing and/or willful violation of the TCPA, and subject to

treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

        16.       The telephone number called by Credit was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

        17.       The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

        18.       Each of the aforementioned calls made by Defendant constitutes a negligent or

intentional violation of the TCPA, including each of the aforementioned provisions of 47 U.S.C.

§ 227, et. seq.

        19.       As a result of each of Defendant’s negligent violations of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA

pursuant to 47 U.S.C. § 227(b)(3)(B).

        20.       As a result of each of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 for each and

every violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                       PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                     1. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C); and

                     2. Such other and further relief as may be just and proper.
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                  TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: March 12, 2014


                                  Respectfully submitted,

                                  By: /s/ Sergei Lemberg, Esq.
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